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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

        CHAMBERS OF                                                           101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                        (410) 962-7780
                                                                          MDD_SAGchambers@mdd.uscourts.gov




                                                         November 24, 2020


   LETTER TO COUNSEL

          Re: Laufer v. Ft. Meade Hospitality, Civil Case No. SAG-20-1974
              Laufer v. Naranda Hotels, LLC, Civil Case No. SAG 20-2136


   Dear Counsel:

           I am in receipt of Mr. Gillespie’s letter of November 23, 2020. While the Court
   understands that Ms. Laufer has a holiday planned and does not lightly interrupt such plans, given
   the Court’s schedule, the large number of cases Plaintiff has filed in this Court, and the significant
   standing questions that have been raised, it is important that this hearing proceed immediately.
   Plaintiff has not explained why this holiday leaves her unavailable next week for a brief evidentiary
   motions hearing, since it will be on Zoom and thus can be attended from anywhere with an Internet
   connection. Given the ongoing and worsening pandemic, which her own briefing acknowledges
   makes travel difficult, it would seem highly unlikely that she would now be traveling to a place
   where Zoom connection would be impossible. Accordingly, the evidentiary hearing will be held
   on Tuesday, December 1, 2020 at 10:00 a.m.

           Despite the informal nature of this letter, it is an Order of the Court and will be docketed
   as such.

                                                         Sincerely yours,

                                                                 /s/

                                                         Stephanie A. Gallagher
                                                         United States District Judge
